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United States Court of Appeals

FOR THE DISTRICT OF COLUMBIA CIRCUIT

No. 14-5291 September Term, 2015
1:13-cv-01176-RBW
Filed On: November 2, 2015

Case New Holland Industrial, Inc. and CNH
Industrial America LLC,

Appellants
V.

Equal Employment Opportunity Commission
and Chetan Patel,

Appellees

ORDER

Upon consideration of the motion to dismiss for lack of jurisdiction and the
opposition thereto; the motion to hold in abeyance; and the motion for voluntary
dismissal, it is

ORDERED that the motion for voluntary dismissal be granted. It is
FURTHER ORDERED that the remaining motions be dismissed as moot.

The Clerk is directed to issue forthwith to the district court a certified copy of this
order in lieu of formal mandate.

FOR THE COURT:
Mark J. Langer, Clerk

BY: /s/
Robert J. Cavello
Deputy Clerk

Atrue copy
United States Court of Appeals:
for the District of Columbia Circuit

By 7 Deputy Clerk
